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                       IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF KANSAS

United States of America,

                     Plaintiff,

v.                                                             Case No. 09-20133-07-JWL


Dwight Rhone,

                     Defendant.

                                  MEMORANDUM & ORDER

       This matter is before the court on Mr. Rhone’s pro se motion for reduction of sentence

pursuant to 18 U.S.C. § 3582(c)(2) in which Mr. Rhone asks the court to reduce his sentence

based on Amendment 782 to the United States Sentencing Guidelines. The motion is granted to

the extent set forth below as Mr. Rhone is entitled to a one-month reduction in his sentence.

       The court sentenced Mr. Rhone to 73 months imprisonment after adjusting the sentence

by 48 months from a low-end guideline sentence of 121 months to reflect the period of time that

Mr. Rhone had served in Arizona based on the same conduct. See U.S.S.G. § 5G1.3(b)(1). In

essence, then, Mr. Rhone received a low-end guideline sentence of 121 months with an offset

for time already served in state custody. While Mr. Rhone is eligible for a two-level reduction

in his base offense level, he remains subject to the mandatory minimum sentence of 120 months

pursuant to 21 U.S.C. §§ 841(b)(1)(A).1 Thus, the court is only authorized to grant Mr. Rhone a


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 Mr. Rhone received a low-end guideline sentence of 121 months consistent with the guideline
range for imprisonment based on a total offense level of 32 and a criminal history category of I.
Amendment 782 would reduce Mr. Rhone’s offense level to 30, warranting an amended
guideline range of 97 to 121 months.
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one-month reduction, from 121 months to 120 months. The statutory mandatory minimum

precludes the court from sentencing Mr. Rhone to less than 120 months. United States v.

Randle, 508 Fed. Appx. 766, 768 (10th Cir. 2013) (on § 3582(c) motion, district court has no

authority or discretion to depart from a statutorily mandated minimum sentence).



      IT IS THEREFORE ORDERED BY THE COURT THAT Mr. Rhone’s motion for

reduction of sentence pursuant to 18 U.S.C. § 3582(c)(2) (doc. 1716) is granted as described

herein and Mr. Rhone’s sentence is reduced from 73 months to 72 months imprisonment.

All other provisions of the judgment dated October 31, 2011 shall remain in effect.



      IT IS SO ORDERED.



      Dated this 22nd day of April, 2015, at Kansas City, Kansas.

      Effective Date: November 1, 2015.



                                                s/ John W. Lungstrum
                                                John W. Lungstrum
                                                United States District Judge




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